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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    HANNAH R. LABAREE, #294338
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
     Hannah_Labaree@fd.org
5
     Attorney for Defendant
6    MARTY MARCIANO BOONE
7
                                IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                   )   Case No. 2:16-cr-020 TLN
                                                 )
11                    Plaintiff,                 )   STIPULATION AND ORDER TO
                                                 )   CONTINUE STATUS CONFERENCE, AND TO
12   vs.                                         )   EXCLUDE TIME
                                                 )
13   MARTY MARCIANO BOONE and                    )   Date: May 26, 2016
     RONDA BOONE,                                )   Time: 9:30 a.m.
14                                               )   Judge: Hon. Troy L. Nunley
                      Defendants.                )
15                                               )
16           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
17   Attorney, through Assistant United States Attorney Jared Dolan, attorney for Plaintiff, Heather
18   Williams, Federal Defender, through Assistant Federal Defender Hannah R. Labaree, attorney
19   for Marty Marciano Boone, and Robert Wilson, attorney for Ronda Boone, that the status
20   conference scheduled for May 26, 2016 be vacated and be continued to August 18, 2016 at 9:30
21   a.m.
22           To date, the government has provided over 19,000 pages of discovery. The initial
23   disclosure took place in mid to late February 2016 and consisted of approximately 14,000 pages
24   of discovery. The second installment of discovery took place on or about April 13, 2016 and
25   consisted of 5,000 additional pages of discovery. The grounds for this continuance are that
26   defense counsel would like additional time to review the voluminous discovery that has been
27   produced and to investigate the facts of the case, so to allow time for effective preparation and to
28   negotiate a resolution to this matter.

      Stipulation and Order to Continue Status        -1-
      Conference
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1            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
2    excluded of this order’s date through and including August 18, 2016; pursuant to 18 U.S.C.
3    §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
4    based upon defense preparation.
5    DATED: May 23, 2016                         Respectfully submitted,
6                                                HEATHER E. WILLIAMS
7                                                Federal Defender

8                                                /s/ Hannah R. Labaree
                                                 HANNAH R. LABAREE
9                                                Assistant Federal Defender
                                                 Attorney for MARTY MARCIANO BOONE
10
11   DATED: May 23, 2016                         /s/ Robert M. Wilson
                                                 ROBERT M. WILSON
12                                               Attorney for RONDA BOONE

13
     DATED: May 23, 2016                         PHILLIP A. TALBERT
14
                                                 Acting United States Attorney
15
                                                 /s/ Jared Dolan
16                                               JARED DOLAN
                                                 Assistant U.S. Attorney
17                                               Attorney for Plaintiff
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      Stipulation and Order to Continue Status      -2-
      Conference
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1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including August
9    18, 2016, shall be excluded from computation of time within which the trial of this case must be
10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv)
11   [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It is further
12   ordered the May 26, 2016 status conference shall be continued until August 18, 2016, at 9:30
13   a.m.
14   Dated: May 23, 2016
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16
                                                            Troy L. Nunley
17                                                          United States District Judge

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      Stipulation and Order to Continue Status        -3-
      Conference
